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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


UNITED STATES OF AMERICA,                            )       CASE NO. 5:07CR521
                                              )
                       Plaintiff,             )      JUDGE PETER C. ECONOMUS
                                              )      Magistrate Judge George J. Limbert
               v.                             )
                                              )
THOMAS A. SHUMAY,                             )      REPORT AND RECOMMENDATION
                                              )      OF MAGISTRATE JUDGE
(Defendant #1)                                )
                                              )
                       Defendant.             )


       Pursuant to General Order 99-49, this case was referred to United States Magistrate Judge

George J. Limbert for the purposes of conducting an initial appearance, arraignment and receiving,

on consent of the parties, Defendant’s offer of a plea of guilty, conducting the colloquy prescribed

by Fed. R. Crim. P. 11, causing a verbatim record of the proceedings to be prepared, referring the

matter for presentence investigation, and submitting a Magistrate Judge’s Report and

Recommendation stating whether the plea should be accepted and a finding of guilty entered. ECF

Dkt. #2. The following, along with the transcript or other record of the proceedings submitted

herewith, constitutes the Magistrate Judge’s Report and Recommendation concerning the plea of

guilty proffered by Defendant.

       1.      On October 31, 2007, Defendant Thomas A. Shumay, accompanied by Attorney

Mark R. DeVan, executed a Consent to Order of Referral to Magistrate Judge for Purposes of

Receiving Defendant’s Plea of Guilty.

       2.      On October 31, 2007, Defendant Thomas A. Shumay, accompanied by Attorney

Mark R. DeVan, executed, a waiver of indictment and consented to prosecution by information,
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which the undersigned approved.

        3.     On October 31, 2007, Defendant Thomas A. Shumay, accompanied by Attorney

Mark R. DeVan, proffered a plea of guilty to the Count 1 in the Information filed on October 12,

2007. See ECF Dkt. #1.

        4.     Prior to such proffer, Defendant Thomas A. Shumay was examined as to his

competency, advised of the charges and consequences of conviction, informed that the Court is

not bound to apply the Federal Sentencing Guidelines but must consult the guidelines and take

them into consideration when it imposes the sentence, notified of his rights, advised that he was

waiving all of his rights except the right to counsel, and, if such were the case, his right to

appeal, and otherwise provided with the information prescribed in Fed. Crim. R. 11.

        5.     The parties and counsel informed the Court that there was a written, signed plea

agreement between the parties. The undersigned was advised that no commitments or promises

have been made by any party, and no other agreements, written or unwritten, have been made

between the parties.

        6.     The undersigned questioned Defendant Thomas A. Shumay under oath about the

knowing, intelligent, and voluntary nature of the plea of guilty, and the undersigned believes that

Defendant Thomas A. Shumay’s plea was offered knowingly, intelligently, and voluntarily.

        7.     The parties provided the undersigned with sufficient information about the

charged offenses and Defendant Thomas A. Shumay’s conduct to establish a factual basis for the

plea.

        In light of the foregoing, and the record submitted herewith, the undersigned concludes

that Defendant Thomas A. Shumay’s plea was knowing, intelligent, and voluntary and all


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requirements imposed by the United States Constitution and Fed. R. Crim. P. 11 have been

satisfied. Accordingly, the undersigned recommends that the plea of guilty be accepted and a

finding of guilty be entered by the Court.



                                                        s/ George J. Limbert
Date: November 1, 2007                                 George J. Limbert
                                                       United States Magistrate Judge


       ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of
Court within ten (10) days of service of this notice. Failure to file objections within the specified
time WAIVES the right to appeal the Magistrate Judge’s recommendation. See Thomas v. Arn,
474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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